     Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.635 Page 1 of 12



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13                          UNITED STATES DISTRICT COURT
14                       SOUTHERN DISTRICT OF CALIFORNIA
15 SLYVESTER OWINO and JONATHAN                )   Case No. 3:17-CV-01112-JLS-NLS
   GOMEZ,    on behalf of themselves and all
16 others similarly situated,
                                               )
                                               )
17                              Plaintiffs,    )   CLASS ACTION
                                               )
18
                vs.                            )
                                               )   MEMORANDUM OF POINTS AND
19
      CORECIVIC, INC.,                         )   AUTHORITIES IN SUPPORT OF
                                               )   PLAINTIFFS’ MOTION FOR LEAVE
20
                                   Defendant. )    TO FILE FIRST AMENDED
                                               )   COMPLAINT
21
                                               )
      CORECIVIC, INC.,                         )   Date: October 18, 2018
22                          Counter-Claimant, ))   Time: 1:30 p.m.
                                                   Place: Courtroom 4D
23                                             )
                                               )   Judge: Hon. Janis L. Sammartino
24                 vs.                         )   Magistrate: Hon. Nita L. Stormes
                                               )
25    SLYVESTER OWINO and JONATHAN )               DEMAND FOR JURY TRIAL
      GOMEZ, on behalf of themselves and all )
26    others similarly situated,               )
                          Counter-Defendants. ))
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                                               )
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                                                            Case No. 17-CV-01112-JLS-NLS
     Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.636 Page 2 of 12



 1                                               TABLE OF CONTENTS
 2    I.      INTRODUCTION .................................................................................................. 1
 3    II.     LEGAL STANDARD ............................................................................................ 1
 4    III.    ARGUMENT .......................................................................................................... 2
 5            A.       PLAINTIFFS’ PROPOSED AMENDMENT IS TIMELY UNDER
                       THE SCHEDULING ORDER. .................................................................... 2
 6
              B.       PLAINTIFFS’ PROPOSED AMENDMENT WILL NOT HAVE
 7                     ANY EFFECT ON THE SCHEDULING OF THIS MATTER. ................. 4
 8            C.       THERE IS NO BAD FAITH OR IMPROPER MOTIVE. .......................... 4
 9            D.       GRANTING LEAVE TO AMEND WILL NOT PREJUDICE
                       DEFENDANT. ............................................................................................. 5
10
              E.       PLAINTIFFS’ PROPOSED AMENDMENT IS NOT FUTILE. ................ 6
11
      IV.     CONCLUSION....................................................................................................... 6
12
      CERTIFICATE OF SERVICE ......................................................................................... 8
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                                                                -i-                Case No. 17-CV-01112-JLS-NLS
     Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.637 Page 3 of 12



 1                                             TABLE OF AUTHORITIES
 2
                                                                                                                        Page(s)
 3
      Federal Cases
 4
      Bell v. Allstate Life Ins. Co.,
 5
         160 F.3d 452 (8th Cir. 1998) .......................................................................................... 6
 6
      DCD Programs, Ltd. v. Leighton,
 7      833 F.2d 183 (9th Cir. 1987) .......................................................................................... 2
 8
   Eminence Capital, LLC v. Aspeon, Inc.,
 9   316 F.2d 1048 (9th Cir. 2003) ........................................................................................ 5
10 Foman v. Davis,
11   371 U.S. 178 (1962) ........................................................................................................ 2
12    Genentech, Inc. v. Abbott Labs.,
        127 F.R.D. 529 (N.D. Cal. 1989).................................................................................... 2
13

14    Griggs v. Pace Am. Grp., Inc.,
         170 F.3d 877 (9th Cir. 1999) .......................................................................................... 4
15

16
      Howey v. United States,
        481 F.2d 1187 (9th Cir. 1973) ........................................................................................ 3
17
      Lockheed Martin Corp. v. Network Solutions, Inc.,
18       175 F.R.D. 640 (C.D. Cal. 1997) ................................................................................ 2, 5
19
   Miller v. Rykoff-Sexton, Inc.,
20    845 F.2d 209 (9th Cir. 1988) .......................................................................................... 6
21 Thornton v. McClatchy Newspapers, Inc.,
22   261 F.3d 789 (9th Cir. 2001) (superseded by statute on other grounds) ....................... 5
23 Trans Video Elecs., LTD v. Sony Elecs., Inc.,
24    278 F.R.D. 505 (N.D Cal. 2011)..................................................................................... 4

25    Union P.R. Co. v. Nevada Power Co.,
        950 F.2d 1429 (9th Cir. 1991) ........................................................................................ 2
26

27    California Statutes

28    Cal. Labor Code § 2699.3(a)(2) ....................................................................................... 2, 3


                                                              -ii-                Case No. 17-CV-01112-JLS-NLS
     Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.638 Page 4 of 12



 1    Private Attorney General Act, Cal. Labor Code §§ 2698, et seq................................ passim
 2
      Federal Rules
 3
      Fed. R. Civ. P. 15 (a)(1) ....................................................................................................... 1
 4
      Fed. R. Civ. P. 15(a)(2) ........................................................................................................ 1
 5

 6    Fed. R. Civ. P. 15 (a)............................................................................................................ 5
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                                                                 -iii-                Case No. 17-CV-01112-JLS-NLS
     Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.639 Page 5 of 12



 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.    INTRODUCTION
 3          Plaintiffs Slyvester Owino and Jonathan Gomez bring the instant Motion for leave
 4    to file a First Amended Complaint (the “FAC”) for the limited purpose of adding a claim
 5    for violations of the Private Attorney General Act (“PAGA”), Cal. Labor Code §§ 2698,
 6    et seq., by Defendant CoreCivic, Inc. (“Defendant”).1         Plaintiffs’ PAGA claim is
 7    predicated on the same violations of the California Labor Code and IWC Wage Order 5-
 8    2001 set forth in Plaintiffs’ original pleading, which the Court determined were
 9    actionable in its Order Granting in Part and Denying in Part Defendant’s Motion to
10    Dismiss (the “Motion to Dismiss Order”). Thus, Plaintiffs’ proposed amendment would
11    not materially alter the nature of the case, as it does not seek to augment the factual
12    allegations underpinning Plaintiffs’ claims or advance an independent theory of liability.
13          Further, Plaintiffs informed both the Court and Defendant of their intent to seek
14    leave to add a claim under PAGA prior to the Court’s issuance of the Scheduling Order
15    governing discovery and class certification. As a result, the Scheduling Order in this
16    matter specifically contemplates the addition of a PAGA claim and the timeframes
17 established therein account for the likelihood that Plaintiffs would file an amended

18 pleading.     Accordingly, granting leave to amend would not have any impact on the
19 scheduling or this matter, cause undue delay, or prejudice Defendant. In view of the

20 liberal policy favoring leave to amend, the Court should grant Plaintiffs leave to file their

21 FAC for the purpose of adding a PAGA claim.

22 II.      LEGAL STANDARD
23          Under Federal Rule of Civil Procedure 15(a)(2), a party may amend its pleading
24    with the court’s leave. Fed. R. Civ. P. 15 (a)(1). “The court should freely give leave
25    when justice so requires.”    Id.   In the Ninth Circuit, “rule 15’s policy of favoring
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      1
28     A copy of Plaintiffs’ proposed FAC is attached as Exhibit 1 to the Declaration of Eileen
      R. Ridley and a redline showing the differences between Plaintiffs’ original complaint
      and their proposed FAC is attached as Exhibit 2.
                                               -1-          Case No. 17-CV-01112-JLS-NLS
     Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.640 Page 6 of 12



 1    amendments to pleadings should be applied with extreme liberality.” DCD Programs,
 2    Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987). Accordingly, leave is generally
 3    granted unless the court finds (1) undue delay, (2) bad faith or dilatory motive, (3)
 4    repeated failure to cure deficiencies by amendments previously allowed, (4) undue
 5    prejudice to the opposing party by virtue of allowance of the amendment, and (5) futility
 6    of amendment. Foman v. Davis, 371 U.S. 178 (1962). These factors are to be applied
 7    with a view toward “the strong policy in favor of allowing amendment.” Lockheed
 8    Martin Corp. v. Network Solutions, Inc., 175 F.R.D. 640, 643 (C.D. Cal. 1997).
 9           Courts “differentiate between pleadings attempting to amend claims from those
10 seeking to amend parties. Amendments seeking to add claims are to be granted more

11 freely than amendments adding parties.” Union P.R. Co. v. Nevada Power Co., 950 F.2d

12    1429, 1432 (9th Cir. 1991). The non-moving party bears the burden of showing why
13    leave to amend should not be granted. Genentech, Inc. v. Abbott Labs., 127 F.R.D. 529,
14    530-31 (N.D. Cal. 1989).
15    III.   ARGUMENT
16           A.    Plaintiffs’ Proposed Amendment Is Timely Under The Scheduling
17                 Order.
18           Plaintiffs’ request to file an amended complaint is timely, and the procedural
19 history of the case cannot support a finding of undue delay. As an initial matter, this case

20 is at a relatively early stage, and Plaintiffs have not previously filed an amended pleading.

21 Further, under the Scheduling Order, “[a]ny motion to join other parties, to amend the

22 pleadings, or to file additional pleadings must be filed by October 26, 2018.” [Dkt. 57 at

23    1 (Scheduling Order) (emphasis in original).]      At the July 26, 2018 Early Neutral
24    Evaluation and Case Management Conference, Plaintiffs advised the Court that they
25    would seek leave to file an amended pleading for the purpose of adding a PAGA claim
26    after the expiration of the statutory notice period in Cal. Labor Code § 2699.3(a)(2).
27    Because of this, the Court set an earlier deadline of “30 days following a notice from the
28    Labor and Workforce Development Agency that it will not take action” for Plaintiffs to


                                               -2-           Case No. 17-CV-01112-JLS-NLS
     Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.641 Page 7 of 12



 1    “add a PAGA specific claim.” [Id. at 1-2.]
 2          Here, Plaintiffs provided written notice by certified mail to the Labor and
 3    Workforce Development Agency (the “LWDA”) of the legal claims and theories of this
 4    case on June 11, 2018 and, on the same day, received an email confirming receipt of the
 5    notice by the LWDA. [Declaration of Eileen R. Ridley (“Ridley Decl.”), Ex. 3 (PAGA
 6    Notice to LWDA); Ex. 5 (LWDA Email Confirming Receipt).] Plaintiffs simultaneously
 7    provided a copy of that notice by certified mail to Defendant and their counsel of record
 8    in this action. [Id. at Ex. 4 (PAGA Notice to Defendant).] Under PAGA, the LWDA
 9    “shall notify the employer and the aggrieved employee or representative by certified mail
10    that it does not intend to investigate the alleged violation within 60 calendar days of the
11    postmark date of the notice received pursuant to paragraph (1).” Cal. Labor Code §
12    2699.3(a)(2). Alternatively, “if no notice is provided within 65 calendar days of the
13    postmark date of the notice given pursuant to paragraph (1), the aggrieved employee may
14    commence a civil action pursuant to Section 2699.” Id. The LWDA did not provide
15    notice on or before August 15, 2018, i.e., “within 65 calendar days of the postmark date
16    of” Plaintiffs’ notice. [Ridley Decl., ¶ 6.] Thus, Plaintiffs’ Motion is timely under the
17    Scheduling Order.
18          Moreover, in view of the broader procedural history of the case and the statutory
19    notice period required for PAGA claims, there was no undue delay in seeking leave to
20    amend. The strong policy favoring liberal amendment is such that, even if Defendant
21    could somehow establish some form of delay, “[w]here there is a lack of prejudice to the
22    opposing party and the amended complaint is obviously not frivolous, or made as a
23    dilatory maneuver in bad faith, it is an abuse of discretion to deny such a motion.” This
24    is because the “purpose of the litigation process is to vindicate meritorious claims” and
25    “[r]efusing, solely because of delay, to permit an amendment to a pleading in order to
26    state a potentially valid claim would hinder this purpose while not promoting any other
27    sound judicial policy.” Howey v. United States, 481 F.2d 1187, 1191 (9th Cir. 1973).
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                                               -3-           Case No. 17-CV-01112-JLS-NLS
     Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.642 Page 8 of 12



 1          B.    Plaintiffs’ Proposed Amendment Will Not Have Any Effect On The
 2                Scheduling Of This Matter.
 3          Plaintiffs’ proposed amendment will have no effect on the scheduling of the case.
 4    Indeed, Plaintiffs notified Defendant of their intent to file a claim under PAGA on June
 5    11, 2018. [Ridley Decl., Ex. 4 (PAGA Notice to Defendant).] Plaintiffs also informed
 6    the Court of its intent to seek leave to file their FAC and to bring a claim under PAGA at
 7    the July 26, 2018 Early Neutral Evaluation and Case Management Conference. As a
 8    result, the Scheduling Order in this matter specifically accounted for the filing of an
 9    amended pleading and the addition of a PAGA claim, and Plaintiffs bring this Motion in
10    compliance with the deadlines set by the Court under the Scheduling Order. [Dkt. 57 at 1
11    (Scheduling Order) at 1-2.] Plaintiffs do not seek any modification of the Scheduling
12    Order by way of this Motion.
13          Additionally, Plaintiffs’ PAGA claim would not change the nature of the lawsuit in
14    any way, as the PAGA claim arises from the exact same factual allegations as the original
15    pleading. [See Ridley Decl., Ex. 1 (First Amended Complaint).] Therefore, granting
16    Plaintiffs leave to amend will not have any effect on the case management deadlines
17    previously set by the Court.
18          C.    There Is No Bad Faith Or Improper Motive.
19          Plaintiffs have not acted in bad faith or with an improper motive in bringing this
20    Motion or seeking to add a claim under PAGA. Bad faith exists where the proposed
21 amendment “will not save the complaint or the plaintiff merely is seeking to prolong the

22 litigation by adding new but baseless legal theories.” Griggs v. Pace Am. Grp., Inc., 170

23    F.3d 877, 881 (9th Cir. 1999)). Bad faith may also exist when a party represents to the
24    court that the party will not move to amend its complaint, and subsequently moves to
25    amend once “the proverbial writing was on the wall,” i.e., that the party will suffer an
26    adverse judgment. Trans Video Elecs., LTD v. Sony Elecs., Inc., 278 F.R.D. 505, 510
27    (N.D Cal. 2011)). A court may also find bad faith when the moving party has a “history
28    of dilatory tactics.” Thornton v. McClatchy Newspapers, Inc., 261 F.3d 789, 799 (9th


                                               -4-           Case No. 17-CV-01112-JLS-NLS
     Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.643 Page 9 of 12



 1    Cir. 2001) (superseded by statute on other grounds).
 2          None of these facts are present in this action.        Under PAGA, an aggrieved
 3 employee, on behalf of him or herself and other current or former employees as well as

 4 the general public, may bring a representative action as a private attorney general to

 5 recover penalties for an employer’s violations of the California Labor Code and IWC

 6    Wage Orders. Cal. Labor Code § 2698, et seq. Plaintiffs’ proposed PAGA claim is not
 7    an attempt to advance a fundamentally different legal theory than those that are already at
 8    issue. Indeed, Plaintiffs’ proposed PAGA claim is predicated on the same facts and same
 9    violations of the California Labor Code and IWC Wage Order 5-2001 that gave rise to
10    Plaintiffs’ Fourth through Twelfth causes of action in their original pleading.
11          Moreover, Plaintiff is not facing an adverse judgment nor has it represented to the
12    Court or Defendant that it would not seek to amend its original pleading. The exact
13    opposite is true. Plaintiffs informed Defendant of their intent to seek leave to amend to
14 add a PAGA claim on June 11, 2018 and this Court on July 26, 2018. As there are no

15 dilatory tactics from Plaintiffs, this factor weighs in favor of granting leave to amend.

16          D.     Granting Leave To Amend Will Not Prejudice Defendant.
17          “Prejudice is the ‘touchstone of the inquiry under rule 15(a). Absent prejudice, or
18 a strong showing of any of the remaining . . . factors, there exists a presumption under

19 Rule 15(a) in favor of granting leave to amend.” Eminence Capital, LLC v. Aspeon, Inc.,

20 316 F.2d 1048, 1052 (9th Cir. 2003).           Prejudice can be found “where new claims
21 radically shift the nature of the case, requiring the opposing party to engage in substantial

22 new discovery or to undertake an entirely new course of argument late in the case.”

23 Lockheed Martin Corp., 175 F.R.D. at 644.

24          As applied here, no prejudice will occur to Defendant as a result of Plaintiffs’
25 proposed amendment. Plaintiffs are seeking to add a PAGA claim at a relatively early

26 stage in the litigation and are not seeking to modify the Scheduling Order issued by the

27 Court. Additionally, no new discovery will be necessary, as Plaintiffs’ PAGA claim is

28 based on the same violations of the California Labor Code and IWC Wage Order 5-2001


                                                -5-           Case No. 17-CV-01112-JLS-NLS
 Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.644 Page 10 of 12



 1   set forth in their original pleading. More importantly, “[a]ny prejudice to the nonmovant
 2   must be weighed against the prejudice to the moving party by not allowing amendment.”
 3   Bell v. Allstate Life Ins. Co., 160 F.3d 452, 454 (8th Cir. 1998). Denying Plaintiffs leave
 4 to amend would deprive them of their ability to fully vindicate their rights resulting from

 5 Defendant’s unlawful conduct and business practices.            Given the absence of any
 6 prejudice to Defendant, and the prejudice that would result to Plaintiffs if leave to amend

 7 were denied, this factor weighs heavily in favor of granting leave to amend to add a

 8 PAGA claim.

 9         E.     Plaintiffs’ Proposed Amendment Is Not Futile.
10         As set forth above, Plaintiffs’ proposed PAGA claim is based on the same facts
11   and claims set forth in Plaintiffs’ original complaint. “[A] proposed amendment is futile
12   only if no set of facts can be proved under the amendment to the pleadings that would
13   constitute a valid and sufficient claim or defense.” Miller v. Rykoff-Sexton, Inc., 845 F.2d
14   209, 214 (9th Cir. 1988). Here, the Court already determined that each claim asserted in
15   Plaintiffs’ original complaint, including their Fourth through Twelfth causes of action for
16   violations of the California Labor Code and IWC Wage Order 5-2001, are actionable.
17   [Dkt. 38 (Motion to Dismiss Order).] Therefore, Plaintiffs’ proposed PAGA claim is not
18   futile, and Plaintiffs should be afforded leave to amend.
19   IV.   CONCLUSION
20         For the foregoing reasons, Plaintiffs respectfully request that the Court grant leave
21   for Plaintiffs to file their FAC to add a claim under PAGA.
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                                               -6-           Case No. 17-CV-01112-JLS-NLS
 Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.645 Page 11 of 12



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                                        -7-          Case No. 17-CV-01112-JLS-NLS
 Case 3:17-cv-01112-JLS-NLS Document 64-1 Filed 09/11/18 PageID.646 Page 12 of 12



 1                             CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on September 11, 2018 to all counsel of record who
 4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
 5   Civil Local Rule 5.4.
 6
                                          /s/ Eileen R. Ridley
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                                          Eileen R. Ridley
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                                           -8-           Case No. 17-CV-01112-JLS-NLS
